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 5
                            UNITED STATES DISTRICT COURT
 6                         EASTERN DISTRICT OF WASHINGTON
 7 UNITED STATES OF AMERICA,                        )
 8                                                  )
                Plaintiff,                          )      11-CR-00107-WFN-13
 9                                                  )
              vs.                                   )
10 CRUZ GONZALES RANGEL,                            )
                                                    )      Preliminary Order of Forfeiture
11                                                  )
               Defendant.                           )
12
     IT IS HEREBY ORDERED THAT:
13
              As the result of the Defendant’s guilty plea to an Information Superseding
14
     Indictment, and his plea agreement in which he agreed to forfeit, to the United
15
     States, $3,049.00 U.S. currency and $10,000.00 in substitute res in lieu of
16
     forfeiture of real property, Defendant, CRUZ GONZALES RANGEL, shall forfeit
17
     to the United States the following:
18
              -$3,049.00 U.S. currency seized on or about July 21, 2011, and;
19
              -$10,000.00 in U.S. funds as substitute res in lieu of forfeiture of the below-
20
     described real property, which the United States sought to forfeit pursuant to 21
21
     U.S.C. § 853.
22
              REAL PROPERTY
23
              1) All that lot and parcel of land, together with all buildings,
24            appurtenances, improvements, fixtures, attachments and easements
              thereon, and all rights appertaining thereto, located at 824 North Vista
25            Drive, Moses Lake, Washington, Assessor’s Parcel No. 111484000,
              more particularly described as:
26
              Lot 5, Block L, Vista Village Addition, Moses Lake, as per plat
27            recorded in Volume 6 of Plats, Page 34, records of Grant County,
              Washington.
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 1            TOGETHER WITH all appurtenances, fixtures, attachments, and
              improvements thereto and thereupon,
 2
              SUBJECT TO covenants, conditions, restrictions, reservations,
 3            easements and agreements of record, if any.
 4            2) All that lot and parcel of land, together with all buildings,
              appurtenances, improvements, fixtures, attachments and easements
 5            thereon, and all rights appertaining thereto, located at 4321 Longview
              Street NE, Moses Lake, Washington, Assessor’s Parcel No.
 6            120513000, more particularly described as:
 7            Lot 17, Block 4, Longview Tracts Second Addition, as per plat
              recorded in Volume 4 of Plats, Page 24, records of Grant County,
 8            Washington.
 9            TOGETHER WITH all appurtenances, fixtures, attachments, and
              improvements thereto and thereupon,
10
              SUBJECT TO covenants, conditions, restrictions, reservations,
11            easements and agreements of record, if any.
12            The Defendant acknowledged that the assets covered by his plea agreement
13 are subject to forfeiture as property facilitating illegal conduct or represent
14 property that constitutes or is derived from any proceeds obtained directly or
15 indirectly from illegal conduct, in violation of 21 U.S.C. §§ 841 and 846, and are
16 therefore forfeitable to the United States under 21 U.S.C. § 853.
17            Upon the entry of this Order, the United States Attorney General (or a
18 designee) is authorized to seize the above-listed assets subject to forfeiture,
19 whether held by the defendant or by a third party, and to conduct any discovery
20 proper in identifying, locating or disposing of the property subject to forfeiture, in
21 accordance with 21 U.S.C. § 853 and Fed. R. Crim. P. 32.2(b)(3).
22            Upon entry of this Order, the United States is authorized to commence any
23 applicable proceeding to comply with statutes governing third party rights,
24 including giving notice of this Order.
25            Pursuant to Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or
26 Maritime Claims and Asset Forfeiture Actions and 21 U.S.C. § 853(n), the United
27 States will post notice of this order on the official government internet site
28 (www.forfeiture.gov) for at least 30 consecutive days. The United States may

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 1 also, to the extent practicable, provide direct written notice to any person known to
 2 have alleged an interest in the property that is the subject of the Preliminary Order
 3 of Forfeiture, as a substitute for posted internet notice as to those persons so
 4 notified.
 5            Any person, other than the above-named Defendant, asserting a legal
 6 interest in the above-listed property may, within sixty(60) days of the first posting
 7 of notice, or receipt of notice, whichever is earlier, petition the court for a hearing
 8 without a jury to adjudicate the validity of his alleged interest in the above-listed
 9 property, and for an amendment of the order of forfeiture, pursuant to Rule G(5),
10 as incorporated by 21 U.S.C. § 853(n).
11            Any petition filed by a third party asserting an interest in the above-listed
12 property shall be signed by the petitioner under penalty of perjury and shall set
13 forth the nature and extent of the petitioner's right, title, or interest in said
14 property, the time and circumstances of the petitioner's acquisition of the right,
15 title or interest in said property, and any additional facts supporting the petitioner's
16 claim and the relief sought.
17            Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B), this Preliminary Order
18 of Forfeiture is final as to the Defendant at the time of sentencing, and is made
19 part of the sentence and included in the judgment.
20            After the disposition of any motion filed under Fed. R. Crim. P. 32.2(c) and
21 before a hearing on the petition, discovery may be conducted in accordance with
22 the Federal Rules of Civil Procedure upon a showing that such discovery is
23 necessary or desirable to resolve factual issues.
24            The United States shall have clear title to the above-listed property
25 following the Court's disposition of all third-party interests, or, if none, following
26 the expiration of the period provided in Rule G(5), as incorporated by 21 U.S.C. §
27 853(n)(2), for the filing of third party petitions.
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 1            The Court shall retain jurisdiction to enforce this Order, and to amend it as
 2 necessary, pursuant to Fed. R. Crim. P. 32.2(e).
 3
 4            ORDERED this 4th day of September, 2012.
 5
 6                                      s/ Wm. Fremming Nielsen
 7                                      Wm. Fremming Nielsen
                                        Senior United States District Judge
 8
 9
10 Presented by:
11 Michael C. Ormsby
   United States Attorney
12 s/Stephanie Van Marter
13 Stephanie Van Marter
14 Assistant United States Attorney
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     C Rangel PoF.wpd
